Case 3:11-CV-OOOOZ-WWE Document 1-3 Filed 01/03/11 Page 1 of 1

ms 44 (R¢v, 12/07)

Tlie 18 44 civil cover sheet_and the information contained herein neither re lace norsu§plement the filing and service ofpleadin%s or other
by local rules ofcourt. This t`orm, approved by the Judicial Conference o the United `
(SEE INSTRUCTlONS ON THE REVERSE OF THE FORM,)

the civil docket sheet

I. (a) PLAlNTlFFS

Sonia |. A|essi

(b) County of`Residence ot`First listed Plaintiff
(EXCEPT lN US. PLAINTIFF CASES)

CIVIL C()VER SHEET

FairHe|d

(C) AttOrne ’S (Firm Name, Address, and Tele hone Numbe

None. Pro

e, 16 Knapp Street, Eas on, CT 03612, 646-285-4380

tates in September 1974, is required fort

DEFENDANTS

NOTE:

Atthn€yS lt:l(now
David 1\/1. izar,

 

Wor|d Financia| Network Nationa| Bank

County ofResidence ofFirst Listed Defendant

apers as re uired by law, except as provided
e use of e Clerk of ourt for the purpose ofinitiating

(lN U.S. PLAINTIFF CASES ONLY)

11\1 LAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOI.VED,

r§sq., Seyfarth Shaw, LLP, World Trade Center East,
2 Seaport 1.ane, Boston, MA 02210, 617-946-4874

 

II. BASlS OF JU RISDICTlON

(Place an "X"

in One Box Only)

 

(For Diversity Cases Only)

PTF

DEF

III. CITIZENSHIP ()F PRINCIPAL PARTIES(Piace an “X“ m one Box for Piaimi'ff

and One Box for Defendant)

PTF DEF

 

 

 

 

 

 

 

 

 

 

 

 

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D 2 U.S. Govemment 13 4 Diversity Citizen of Another State D 2 D 2 lncorporated and Principal Place 13 5 D 5
Defendam (Indicale Citizenship of Parties in ltem 1111 of Busmess m Another State
Citizen or Sul)ject ofa 13 3 1'_`1 3 Foreign Nation D 6 D 6
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0 120 Marine D 310 Airplane D 362 Personal ln_iury ~ Cl 620 Other Food & Drug fl 423 Withdrawal [j 410 Antitrust
fl 130 Miller Act 0 315 Airplane Product Med. Malpractice fl 625 Drug Related Seizure 28 USC 157 Cl 430 Banks and Banking,
13 140 Negotiable lnstrument Liability D 365 Personal lnjury ~ of Property 21 USC 881 13 450 Commerce
D 150 Recovely of Overpayment fl 320 Assault, Libel & Product Liability Cl 630 Liquor Laws P R S 0 460 Deportation
& EnforcementofJudgment Slander ij 368 Asbestos Personal fl 640 R.R. & 'l"ruck fl 820 Copyrights D 470 Racketeer lnHuenc€d and
0 151 Medicare Act [] 330 Federal Employers` lnjury Product Cl 650 Airline Regs¢ 13 830 Patent Corrupt Organizations
['] 152 Recovery of Def`aulted Liability Liability D 660 Occupational D 840 ’Trademark § 480 Consumer Credit
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(Excl, Vct€rans) ij 345 Marine Product 111 370 Other Fraud Cl 690 Other D 810 Selective Service
[] 153 Recovery of Overpayment liability U 371 '1`ruth in Lending LA§Q_B EC ' D 850 Securities/Commodities/
of Veteran’s Benetits D 350 Motor Vehicle fl 380 Other Personal D 710 Fair loabor Standards U 861 HlA (1395?£) Exchange
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0 190 Othei’ Conti'act Product Liability D 385 Property Damage [] 720 Labor,/Mgmt. Relations fl 863 DlWC/DlWW (405(§)) 12 USC 3410
ij 195 Contract Product liability 53 360 Other Personal Product Liability D 730 I.abor/Mgmt.Reporting Cl 864 SSID Title XVI 13 890 Other Statutory Actions
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1 RE.'\I. ?R'|'JFI:'.IITY (`[\'IL RICIl'l`S l'RlSON|:`.R PETI`|`{DNH fl 740 Railway Labor Act FEDFRAI TAX SUI'I`S D 892 Economic Stabilization Act
13 210 Land Condemnution fl 441 Voting 510 Motions to Vacate D 790 O!her Lal)or Litigation Cl 870 Taxes (U.S. PlaintitiC U 893 Environmental Matters
111 220 Foreclosure F] 442 Employment Sentence Cl 791 Empl. Ret, lnc. or Dei`endant) ij 894 Energy Allocation Act
Cl 230 Rent l,case & Ejectment D 443 Housing/ Hal)eas Corpus: Security Act D 871 IRS¢Tliird Party Cl 895 Freedom of lnformation
D 240 Torts to I.and Accommodations 3 530 General 26 USC 7609 Act
D 245 Tort Product Liability [j 444 Welfare j 535 Death Penalty IMMIGIU\TION Cl 900Appea1 of Fee Determination
£'J 290 All Other Real Property D 445 Amei', w/Disabilities ~ j 540 Mandamus & Other fl 462 Naturalization Application linder F.qual Access
Employment 51 550 Civil Riglits El 463 Habeas Corpus ~ to Justioe
fl 446 Amer. w/Disabilities ~ |:l 555 Prison Condition Alien Detainee fl 950 Constitutionality of
Other ll 465 Other lmmigration State Statutes
G 440 Other Civil Rights Actions

 

 

 

 

 

 

V. ORlGlN

Ap eal to District

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Cl 1 Original ® 2 Removed from ij 3 Remanded from fl 4 Reinstated or g 5 1 ra?§fer(§¢dtrm:m 111 6 Multid_istrict fl 7 Muagie t;a°t;“
Proceeding State Court Appellate Court Reopened ?:DO€C§;) ‘S w Litigation jud§nsqem

 

VI. CAUSE ()F ACTION

Vll. REQU ESTED IN

Cite the U.S. Civil Statute under which you are filing (Do not cltejurisdictional statutes unless diversity);

15 U.S.C. Sec. 1681 et seo. (Fair Credlt Reo.). 1692. et Seo. (Fair Debt Co||. Practices), a___nd Privacy 5 USC 5523

 

Brief` description ot`c

 

SUSCI

A||eoed violation f ` i

13 CHECK IF THIS IS A CLASS ACTION

DEMAND $

CHECK YES only if demanded in complaint:

 

 

 

 

 

 

COMPLAINT: UNDER F¢R'C-P# 23 100 JURY DEMAND: m Yes at No
VIII. RELATED CASE(S) S 4 _ `
IF ANY ( ee `“S""°“°“S)' JUDGE » § j DoCKET NUMBER
DATE SIGNATURE OF,,§§J’:?TAORNEY OF RECORD M_,,f
MWM’”
01/03/201 1 '
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AMOUNT APPI.YING lFP JUDGE MAG. JUDGE

RECF£IPT #

 

